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 5    Attorney for Larry A. McDaniel
 6
                                 UNITED STATES DISTRICT COURT
 7
                                         DISTRICT OF NEVADA
 8
 9
      UNITED STATES OF AMERICA,          )
10                                       )              2:17-CR-00110-APG-CWH
                       Plaintiff,        )
11                                       )              UNOPPOSED MOTION TO
           vs.                           )              ALLOW INTERSTATE TRAVEL
12                                       )
      LARRY ANTHONY MCDANIEL,            )
13                                       )
                       Defendant.        )
14   ____________________________________)
15
             COMES NOW, the Defendant LARRY ANTHONY MCDANIEL, by and through his
16
     attorney, TODD M. LEVENTHAL, ESQ., and hereby files the foregoing notice to allow Interstate
17
     Travel to Scottsdale, Arizona from December 21, 2017 through December 23, 2017.
18
19
             1.    Pursuant to the conditions of Pre-Trial Services, Mr. McDaniel is allowed to travel
20
                   within Clark County, Nevada, and requires permission from the government to
21
                   travel outside of this area.
22
             2.    Travel dates for Mr. McDaniel are Thrusday December 21, 2017 through
23
                   Saturday December 23, 2017.
24
             3.    He will be staying at the following address: 5401 N. Scottsdale Rd. Scottsdale,
25
                   Arizona 85250.
26
             4.    Mr. McDaniel will be traveling by car to the designated address.
27
     ////
28
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 1    5.    Mr. Leventhal has spoken to RICHARD ANTHONY LOPEZ, Assistant United
 2          States Attorney, and he has no objection to the travel.
 3    6.    Additionally, Mr. McDaniel will advise his Pre-Trial Officer within 24hrs of his
 4          return to Las Vegas, NV.
 5
 6
 7    DATED this 27th day of November, 2017.
 8
      Submitted By: LEVENTHAL & ASSOCIATES, PLLC
 9
10
                                                  By:        /s/ Todd M. Leventhal
11
                                                          TODD M. LEVENTHAL, ESQ.
12                                                        Leventhal & Associates, PLLC
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         Case 2:17-cr-00110-APG-DJA          Document 64        Filed 12/05/17      Page 3 of 3



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 5 Attorney for Larry Anthony McDaniel
 6                            UNITED STATES DISTRICT COURT
 7                                   DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,           )
 9                                       )
                       Plaintiff,        )          2:17-CR-00110-APG-CWH
10                                       )
           vs.                           )          (Proposed) ORDER GRANTING
11                                       )          MR. MCDANIEL’S UNOPPOSED MOTION
     LARRY ANTHONY MCDANIEL,             )          TO TRAVEL OUTSIDE OF CLARK
12                                       )          COUNTY, NEVADA
                       Defendant.        )
13   ____________________________________)
14         Based on the Motion of Defendant LARRY ANTHONY MCDANIEL and good cause
15 appearing, the Court hereby ORDERS as follows:
16         1.    Defendant, LARRY ANTHONY MCDANIEL may travel outside of Clark County,
17               Nevada from Thrusday December 21, 2017 through Saturday December 23,
18               2017.
19         2.    Mr. McDaniel has notified his Pre-Trial Officer and has provided the address
20               where he will be staying.
21         3.    Mr. McDaniel will also advise his Pre-Trial Officer within 24hrs of his return to
22               Las Vegas, NV.
23         4.    All other conditions of Pretrial supervision/diversion shall previously remain in
24               place.
25         IT IS SO ORDERED.
26                     5th day of December,
           Dated this ____        November, 2017.
                                                         _____________________________
27                                                       CARL STATES
                                                       UNITED  W. HOFFMAN
                                                                       MAGISTRATE JUDGE
                                                         U.S. MAGISTRATE JUDGE
28
